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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

                                              )
  JUSSIE SMOLLET,                             )
                                              )
          Counterclaim Plaintiff,             )
                                              )   No. 19 C 4547
          v.                                  )
                                              )   Judge Virginia M. Kendall
  CITY OF CHICAGO, et al.,                    )
                                              )
           Counterclaim Defendants.           )

                      MEMORANDUM OPINION AND ORDER

      The City of Chicago filed this lawsuit against Jussie Smollett seeking to

recover costs incurred in connection with the Chicago Police Department’s

investigation of Smollett for allegedly filing a false police report stemming from a

January 2019 attack. Smollett filed a counterclaim against the City of Chicago, CPD

Detective Michael Theirs, CPD Detective Commander Edward Wodnicki, CPD

Superintendent Eddie Johnson, John and Jane Doe Defendants 1—10, (together “the

City Defendants”), Abimbola (“Abel”) Osundairo, and Olabinjo (“Ola”) Osundairo.

Smollett alleges state law claims for malicious prosecution against all Defendants

and a malicious prosecution claim under 42 U.S.C. § 1983 claim against the City

Defendants. Defendants move to dismiss Smollett’s counterclaims for failing to state

a claim under Rule 12(b)(6).    For the reasons discussed below, the Defendants’

motions to dismiss [Dkts. 37, 59] are granted.




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                                   BACKGROUND

      On a motion to dismiss under Rule 12(b)(6), the Court accepts the complaint’s

well-pleaded factual allegations, with all reasonable inferences drawn in the non-

moving party’s favor, but not its legal conclusions. See Smoke Shop, LLC v. United

States, 761 F.3d 779, 785 (7th Cir. 2014). The facts below are drawn from Smollett’s

Amended Countercomplaint and are accepted as true for purposes of reviewing this

motion. See Vinson v. Vermillion Cty., Ill., 776 F.3d 924, 925 (7th Cir. 2015).

      According to the Amended Countercomplaint, on or about January 22, 2019,

Smollett received an envelope delivered to the Fox production studio in Chicago which

contained a racist and homophobic death threat and a white powdery substance.

(Dkt. 33 at ¶ 12). At 2:00 a.m. on January 29, 2019, Smollett was physically attacked

by masked men who yelled racist, homophobic, and political slurs at him, poured

bleach on him, and hung a noose around his neck outside of his Streeterville, Chicago

apartment. (Id. at ¶ 13). Smollett’s primary attacker wore a balaclava-style mask

that covered almost his entire face, except for areas around the eyes and nose, and

Smollett saw the attacker was white-skinned. (Id. at ¶ 14). Smollett returned to his

apartment and saw his artistic director, Frank Gatson, who urged him to call the

police. (Id. at ¶ 15). Smollett was reluctant to do so. (Id.). Gatson called 911 on

Smollett’s behalf. (Id.). CPD officers arrived and Smollett told them truthful details

of the attack and cooperated in the investigation. (Id. at ¶ 16).

      CPD treated Smollett as the victim of a crime initially; however, over the

course of the investigation, CPD began to anonymously share false and misleading

information about the investigation to the media.       (Id. at ¶¶ 18–19).    In early


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February 2019, the media began to report that the attack was a hoax orchestrated by

Smollett. (Id. at ¶ 21). Smollett agreed to be interviewed by Robin Roberts on ABC’s

“Good Morning America” to answer questions about the attack on February 14, 2019.

(Id. at ¶ 22).

       On February 14, 2019, the CPD arrested Abel and Ola Osundairo for

perpetrating the attack on Smollett. (Id. at ¶ 23). The Osundairo Brothers both knew

Smollett prior to the attack. (Id. at ¶ 24). The brothers initially denied involvement

and expressed surprise that they were persons of interest. (Id. at ¶¶ 26–27). For the

first 47 hours the CPD interrogated the Osundairo Brothers, the Osundairo Brothers

stated they were never involved in the attack and never alleged Smollett orchestrated

the attack on himself. (Id. at ¶ 30). While holding the Osundairo Brothers, the CPD,

including John and Jane Doe Defendants, contacted Smollett through his attorney

and asked him to come in to sign a criminal complaint against the Osundairo

Brothers. (Id. at ¶ 31). Smollett asked if the CPD would show him any evidence that

the Osundairo Brothers orchestrated the attack, but the CPD told them they would

not, and Smollett declined to sign the criminal complaint. (Id. at ¶¶ 32–34). The

Osundairo Brothers’ attorney consulted with her clients, and at or near the time the

CPD was required to charge or release them, the Osundairo Brothers then told the

police that they had been involved in the attack and that it was orchestrated by

Smollett. (Id. at ¶¶ 35–36).

       Smollett alleges that the CPD, including Detective Commander Wodnicki,

Detective Theis, and John and Jane Doe Defendants, took unorthodox steps in




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violation of protocol to obtain statements from the Osundairo Brothers and close the

investigations. (Id. at ¶¶ 38–40). The Osundairo Brothers were released from police

custody without charges being filed against them because, according to Smollett, the

CPD told the Osundairo Brothers they would go free if they implicated Smollett. (Id.

at ¶¶ 41–42). CPD sought to have Smollett prosecuted based on the Osundairo

Brothers’ “false, self-serving, and unreliable” statements, without independent

corroboration. (Id. at ¶¶ 43–44). On February 20, 2019, the Osundairo Brothers

testified before a grand jury in the Circuit Court of Cook County, stating under oath

that the attack on Smollett was a hoax that he had orchestrated. (Id. at ¶ 46). On

February 21, 2019, a felony complaint was filed against Smollett in the Circuit Court

of Cook County. (Id. at ¶ 47). On March 7, 2019, a felony indictment, based on the

testimony of Detective Theis, was returned against Smollett in the Circuit Court of

Cook County alleging 16 counts of disorderly conduct, including filing a false police

report. (Id. at ¶¶ 49–50).

      Smollett denies knowledge of the Osundairo Brothers involvement in his

January 29, 2019 attack. (Id. at ¶ 52). Smollett alleges that the Osundairo Brothers

decided with their attorney to advance the hoax narrative to avoid criminal charges,

in part because it was already a media narrative. (Id. at ¶¶ 53–54). The Osundairo

Brothers’ attorney stated in interviews that the Osundairo Brothers cooperation with

the police was selfless and not motivated by their desire to avoid criminal charges,

and she acknowledged that this cooperation shifted the trajectory of the investigation.

(Id. at ¶¶ 60–62).




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         On February 21, 2019, Superintendent Eddie Johnson held a press conference

to address the arrest of Smollett, stating that the attack was a “publicity stunt” and

a “phony attack,” for which Smollett paid $3,500 to stage because he was dissatisfied

with his salary. (Id. at ¶ 66–67). Superintendent Johnson repeated these allegations

in interviews on February 25, 2019. (Id. at ¶ 68). CPD Officers did not interview Fox

executives, producers, or Smollett’s manager and agent about whether Smollett was

dissatisfied with his salary, which the CPD thought was his motive. (Id. at ¶ 69).

Smollett alleges that the FBI disputed that Smollett sent himself the letter, an

assertion Superintendent Johnson made during his February 21, 2019 news

conference. 1 (Id. at ¶ 70). The Osundairo Brothers’ attorney confirmed in interviews

that the $3,500 check paid by Smollett to Abel Osundairo was for training and

nutrition, not for the attack, which is consistent with the memo line of the check and

corroborated by numerous text messages the CPD obtained between Smollett and

Abel. (Id. at ¶ 73). During the February 21, 2019 press conference, Superintendent

Johnson stated that one of the Osundairo Brothers had spoken on the phone with

Smollett about an hour after the attack, but telephone records showed that Smollett’s

next phone call with Abel was about 18 hours after the attack. (Id. at ¶¶ 74–75). A

CPD spokesperson said that Superintendent Johnson had “misspoken. (Id. at ¶ 75).

Superintendent Johnson also said that the Osundairo Brothers had gloves on during




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  The Court notes that the article Smollett attaches, which he claims shows the FBI “dispute[d]” the assertion he sent
himself the letter, does not show that Superintendent Johnson’s statement was “baseless” nor “false” as Smollett
indicates in his Countercomplaint. (Dkt. 33 at ¶¶ 68, 70). The article Smollett links only indicates Superintendent
Johnson may have “overstated things” and that Federal law enforcement sources were still investigating. See
https://www.tmz.com/2019/02/22/jussie-smollett-letter-police-chief-superintendent-fbi/.


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the staged attack but that as far as the CPD could tell, the scratches and bruising on

Smollett’s face were self-inflicted. (Id. at ¶ 76). Smollett alleges that Superintendent

Johnson had no basis for that statement since CPD officers knew that the doorman

at Smollett’s building reported that he had scratches and bruising on his face

immediately after the attack. (Id. at ¶ 77).

      Smollett alleges that the CPD, including Detective Wodnicki, Detective Theis,

Superintendent Johnson, and John and Jane Doe Defendants, knew or should have

known that the Osundairo Brothers’ statements were unreliable. (Id. at ¶ 78). The

CPD had substantial evidence that supported Smollett’s account and undercut the

Osundairo Brothers’ story that the attack was a hoax, which CPD officers ignored to

close the investigation. (Id. at ¶ 81). Smollett claims a text sent from Abel about ten

hours after the attack which stated, “Bruh say it ain’t true, I’m praying for a speedy

recovery. Shit is wild,” is significant because the Osundairo Brothers did not claim

that Smollett told them to send such a text or to claim the message was pretextual.

(Id. at ¶¶ 82–83). Smollett states that most of the text messages between Smollett

and Abel discuss training and nutrition, thus giving rise to an inference that

incriminating texts were innocuous. (Id. at ¶ 86). One text, which Smollett admits

is “susceptible to an incriminating interpretation,” read: “Might need your help on

the low. You around to meet up and talk face to face?” (Id. at ¶¶ 85, 87). Smollett

claims that the context of the text was that Smollett asked Abel to meet in person to

ask him to acquire herbal steroids while he was in Nigeria. (Id. at ¶ 86). Smollett

claims that the Osundairo Brothers falsely told CPD officers that the text was




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Smollett’s initial communication to solicit the Osundairos to help him stage the

attack, when really it was to enlist the help of his “personal trainer” to obtain banned

herbal steroids and help him lose weight. (Id. at ¶¶ 88–93).

       Smollett alleges that the CPD ignored evidence that supports his case. He

claims that the CPD ignored text messages from the Osundairo Brothers

demonstrating “a strong homophobic sentiment,” (Id. at ¶¶ 94–96), and evidence and

statements from two independent witnesses indicating that a young white male was

involved in the attack. (Id. at ¶¶ 97–103). Smollett also claims evidence was ignored

that showed the Osundairo Brothers’ statements were unreliable, namely that the

Osundairo Brothers told CPD officers that Smollett told them not to bring their cell

phones to the attack, but statements from an Uber driver and Yellow Cab driver that

served as transportation indicated that they did have their cell phones. (Id. at ¶¶

104–10).

                                   LEGAL STANDARD

       On a motion to dismiss a counterclaim under Rule 12(b)(6), the Court construes

the counterclaim as it would a complaint, in the light most favorable to the

counterclaim-plaintiff, accepts the factual allegations as true, and draws all

reasonable inferences in the counterclaim-plaintiff’s favor. Reynolds v. CB Sports

Bar, Inc., 623 F.3d 1143, 1146 (7th Cir. 2010). A complaint need contain only a “short

and plain statement of the claim showing that the pleader is entitled to relief.” Fed.

R. Civ. P. 8(a)(2). That statement must contain sufficient factual matter, accepted as

true, to state a claim for relief that is plausible on its face. Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009). However, a counterclaim-plaintiff’s claim need only be plausible, not


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probable. Indep. Trust Corp. v. Stewart Info. Servs. Corp., 665 F.3d 930, 935 (7th Cir.

2012). A claim has facial plausibility when the counterclaim plaintiff pleads factual

content that allows the court to draw the reasonable inference that the counter-

defendant is liable for the misconduct alleged.       NewSpin Sports, LLC v. Arrow

Electronics, Inc., 910 F.3d 293, 299 (7th Cir. 2018) (quoting Ashcroft, 556 U.S. at 678).

Yet the complaint “must actually suggest that the movant has a right to relief, by

providing allegations that raise a right to relief above the speculative level.” Windy

City Metal Fabricators & Supply, Inc. v. CIT Technology Financing Services, 536 F.3d

663, 668 (7th Cir. 2008) (quoting Tamayo v. Blagojevich, 526 F.3d 1074, 1084 (7th

Cir. 2008). Evaluating whether a countercomplaint is sufficiently plausible to survive

a motion to dismiss is “a context-specific task that requires the reviewing court to

draw on its judicial experience and common sense.” McCauley v. City of Chicago, 671

F.3d 611, 616 (7th Cir. 2011) (citing Iqbal, 556 U.S. at 678).

                                    DISCUSSION

       Smollett brings two claims against Defendants:         a state law violation of

malicious prosecution against both the City Defendants and the Osundairo Brothers;

and a federal malicious prosecution claim under 42 U.S.C. § 1983 against the City

Defendants.

I.     Smollett Does Not Plead Sufficient Facts to Show State Law Malicious
       Prosecution

       Smollett alleges a state law malicious prosecution claim against the City

Defendants for their conduct in obtaining the “false and unreliable” statements from

the Osundairo Brothers, using those statements as the basis for the criminal



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complaint against Smollett, and ignoring contradictory evidence. (Dkt. 33 at ¶ 118).

Smollett also claims that the City Defendants lacked probable cause to bring charges.

(Id. at ¶¶ 123–126).      Smollett alleges that Superintendent Johnson’s public

statements demonstrated malice and a lack of good faith in instituting criminal

proceedings. (Id. at ¶ 127).

      In order to bring a malicious prosecution case under Illinois law, Smollett must

show: (1) the commencement or continuance by the defendant of an original judicial

proceeding against him; (2) the termination of the proceeding in his favor; (3) the

absence of probable cause for the proceeding; (4) malice; and (5) damages. Barnes v.

City of Centralia, 943 F.3d 826, 833 (7th Cir. 2019); see also Grundhoefer v. Sorin, 20

N.E.3d 775, 780 (Ill. App. Ct. 2014)). The absence of any of one of these elements bars

Smollett from pursuing the claim. Johnson v. Saville, 575 F.3d 656, 659 (7th Cir.

2009) (citing Swick v. Liautaud, 662 N.E.2d 1238, 1242–43 (Ill. 1996)).

        In a malicious prosecution case, all elements cannot be pled until the

proceedings are terminated in the plaintiff’s favor. See Sneed v. Rybicki, 146 F.3d

478, 481 (7th Cir. 1998) (citing Heck v. Humphrey, 512 U.S. 477, 487 (1994). Smollett

argues that his case has been terminated because a nolle prosequi was entered in his

favor. The City argues the nolle prosequi in his case is distinct since it gave leave to

the Special Prosecutor to reinstate charges. (Dkt. 38 at 5; Dkt. 56 at 4). In most cases

“a nolle prosequi is not a final disposition of a case but is a procedure which restores

the matter to the same state which existed before the Government initiated the

prosecution.” Washington v. Summerville, 127 F.3d 552,557 (7th Cir. 1997).




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      In this case, according to the Defendants, the City entered the nolle prosequi

in his case only after Smollett agreed to both the forfeiture of his fine and to serve

community service. (Dkt. 38 at 7-8). In short, they assert that the instant matter

was terminated with a requirement in return that he perform those two conditions.

Involuntary dismissal “is not indicative of the innocence of the accused when [it] is

the result of an agreement or compromise with the accused[.]” Swick,169 Ill.2d at

513; see also Logan v. Caterpillar, Inc., 246 F.3d 912, 925 (7th Cir, 2001) (“A nolle

prosequi entered as the result of an agreement or compromise with the accused is not

considered indicative of a plaintiff’s innocence.”) At this stage, the Court must take

the facts alleged in the Amended Countercomplaint as true. Smollett only asserts

that the case was dismissed and does not allege the other conditions. The City in its

response, attaches the Certified Record from his case, but the Record only shows the

nolle prosequi of the charges against him and does not show the other conditions.

(Dkt. 56-1). Although Smollett asserts in his Countercomplaint that the Chief of

Police stated publicly regarding his case: “In our experience, innocent individuals

don’t forfeit bond and perform community service in exchange for dropped charges,”

he asserts this to show that the Chief exhibited malice toward him. (Dkt. 33 at ¶

113). Of course, the Court could merely ask the Counter-Plaintiff to file an affidavit

pursuant to his Rule 11 obligations to provide the Court with the agreement entered

into when his charges were dropped. Yet, the Court need not do so since there is

another reason that Smollett cannot allege that the charges were resolved in his favor

and that is the existence of the Special Prosecutor.




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      The case that was once dismissed has returned in the form of a Special

Prosecutor who had the ability to investigate and press criminal charges against him.

It could hardly be said that the case is over since the Special Prosecutor has charged

him again. Now he faces the same allegations brought in February 2020 by the

Special Prosecutor when another grand jury brought an indictment after hearing the

results of a six-month investigation. See February 11, 2020 Order, No. 2019 MR

00014. Smollett has been charged with four counts of disorderly conduct for filing a

false police report. Id. Given this, it cannot be said that the case has terminated, nor

can it be said that the case has terminated in Smollett’s favor.

      Smollett is correct that at this stage, the Court must take his well-pled

allegations as true. However, this does not mean that the Court must ignore public

documents that are available to the Court such as the indictment from the Special

Prosecutor.

      Even assuming that Smollett could establish that there was a final disposition

in his favor, he must next be able to allege that Defendants did not have probable

cause to arrest him. Smollett argues that there was no probable cause because the

Osundairo Brothers’ statements were unreliable and CPD ignored evidence that

supported his account of what occurred that night.        (Dkt. 47 at 10–11).     Here,

however, there was evidence lending itself to probable cause, and the existence of

probable cause “acts as a complete defense to an action for malicious prosecution.”

Johnson, 575 F.3d at 659. “In a malicious-prosecution case, probable cause is defined

as ‘a state of facts that would lead a person of ordinary care and prudence to believe




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or to entertain an honest and sound suspicion that the accused committed the offense

charged.’” Williams v. City of Chicago, 733 F.3d 749, 759 (7th Cir. 2013) (quoting

Gauger v. Hendle, 954 N.E.2d 307, 329–30) (Ill. App. Ct. 2011). Probable cause is

merely the “probability or substantial chance” that criminal activity exists but “does

not require the existence of criminal activity to be more likely true than not true.”

Thayer v. Chiczewski,705 F.3d 237, 246 (7th Cir. 2012).

      Here, probable cause was met by the Osundairo Brothers’ statements to the

police and the corroborating evidence of those statements, including videotaped

evidence. While Smollett alleges the statements were unreliable and self-serving, he

ignores that there was additional evidence to corroborate the Osundairo Brothers’

statements, including suspicious texts between the parties and the deposit of a large

check to Abel shortly before the attack. (Dkt. 33 at ¶¶ 73, 85, 87). Smollett alleges

the Osundairo Brothers’ statements were unreliable because they are self-serving,

but a reasonable ground for belief of the guilt of an accused may be on information

from other persons. Squires-Cannon v. Forest Preserve District of Cook Cty., 2016 WL

561917, *3 (N.D. Ill. Feb. 12, 2016) (citing Turner v. City of Chicago, 415 N.E.2d 481,

485 (Ill. App. Ct. 1980). Smollett further states that since this corroborative evidence

has allegedly innocuous explanations and because there was exculpatory evidence

the police did not investigate, the police lacked probable cause. (Dkt. 47 at 11). While

police may not ignore “conclusively established” evidence that defeats probable cause

or “clearly exculpatory facts,” they do not have to “investigate every potentially

exculpatory detail.” Nelson v. Vill. of Lisle, 437 Fed. App’x 490, 494 (7th Cir. 2011).




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         Given the Osundairo Brothers’ confession, plus corroborating evidence, there

was ample probable cause causing a person of ordinary care and prudence to believe

or to entertain an honest and sound suspicion that the accused committed the offense

charged. Williams, 733 F.3d at 759. As there is probable cause, there can be no

malice. “Malice” in the context of malicious prosecution means that “the officer who

initiated the prosecution had any other motive other than that of bringing a guilty

party to justice.” Aleman v. Vill. of Hanover Park, 662 F.3d 897, 907 (7th Cir. 2011)

(citations omitted). Here, CPD’s motive was bringing Smollett to justice for a crime

it had probable cause to think he committed. Therefore, Smollett’s state law claim of

malicious prosecution is dismissed against all defendants.

II.      Smollett Does Not Plead Sufficient Facts to Show a Section 1983 Claim

         Smollett next alleges a violation for “malicious prosecution” under § 1983. In

his pleadings, Smollett does not indicate under which amendment of the Constitution

he brings his claim. However, there is no cause of action for malicious prosecution

based on the Fourth Amendment. Manuel v. City of Joliet, 903 F.3d 667, 670 (7th

Cir. 2018). Recognizing this, Smollett attempts to justify his pleadings stating that

“[d]espite the malicious prosecution heading, the factual allegations plausibly state a

claim under Section 1983 for the City Defendants’ violation of Mr. Smollett’s Fourth

Amendment rights.” (Dkt. 47 at 13). Smollett then claims that the City violated his

Fourth Amendment rights by holding him in custody without probable cause. (Id. at

14).




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      Smollett cannot now attempt to state that he was bringing a Section 1983 claim

for unlawful detention when his Countercomplaint makes no such reference. Having

been caught attempting to bring a claim that does not exist, Smollett attempts to

retrofit the pleadings and claim that, despite changing the underpinnings of his §

1983 claim, sufficient notice of an unlawful detention claim has been provided to the

City Defendants so as to not violate Federal Rule of Civil Procedure 8. (Id. at 14).

There is not sufficient notice to apprise the City Defendants that Smollett would be

bringing an unlawful detention claim rather than a malicious prosecution claim. As

pleaded, Count II pertains to “instituting criminal proceedings against Smollett

without probable cause.” (Dkt. 34 at ¶ 139). While Count II mentions Smollett was

deprived of his liberty because “he was in custody for approximately ten hours, and

he had restrictions placed on his travel following his surrender to police on February

21, 2019, until the dismissal of charges against him on March 26, 2019,” it is clear

that this was intended as an injury resulting from the malicious prosecution and not

the injury itself. (Id. at ¶ 154). Smollett urges that we allow his reply to the City’s

motion to dismiss serve as a supplement to his pleadings, however, there is no support

for allowing a litigant to completely amend his complaint with a new count that is

not pled in the original. In fact, this Court and other courts in this Circuit have

dismissed complaints where parties have attempted to improperly bring malicious

prosecution claims under § 1983. See Blackmon v. City of Chi., 2020 WL 60188, at

*4 (N.D. Ill. Jan. 6, 2020); Neita v. City of Chicago, 2019 WL 5682838, at *4 (N.D. Ill.




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Nov. 1, 2019). Smollett has failed to state a claim under § 1983 for which relief can

be granted and thus this Count is dismissed. 2

                                                   CONCLUSION

        For the forgoing reasons, the City Defendants’ and Osundairo Brothers’

Motions to Dismiss [Dkts. 37, 59] are granted with prejudice as to Count I as

proceedings are currently ongoing in state court and he cannot bring a state malicious

claim until proceedings have been terminated.                         Count II is dismissed without

prejudice. If Smollett wishes to file an Amended Countercomplaint consistent with

this Order, he must do so within 21 days of the entry of this Order.




                                                    ____________________________________
                                                    Virginia M. Kendall
                                                    United States District Judge

Date: April 22, 2020




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  Smollett’s § 1983 would also fail as the CPD can show probable cause based on Smollett’s pleadings, as discussed
in Part I. An essential element of the Constitutional Right to not be held in custody is that it must be without
probable cause. Manuel, 903 F.3d 670.


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